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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN THE MATTER OF )
WILLIS, DONALD R. ) BANKRUPTCY CASE: 15-12533
) Chapter 7
Debtor )

TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
SERVICES AND REAL ESTATE BROKER TO PROCURE CONSENTED

PUBLIC SALE PURSUANT TO 11 U.S.C. §§327l 328 and 330

Dustin M. Roach, as Chapter 7 Trustee (the “Trustee”), for the above referenced cause,
files this Application To Retain BK Global Real Estate Services and Real Estate Broker and
moves for an Order authorizing retention of (1) BK Global Real Estate Services (“BKRES”)
under the terms set forth in the agreement (the “BKRES Agreement”) attached to BKRES’
Affldavit of Disinterestedness at ExhibitA (the “BKRES Affldavit”), and in support thereof, the
Trustee respectfully states as follows:

PRELIMINARY STATEMENT

Trustee requests approval to retain BKRES and Bette Sue Rowe (previously approved per
Court order dated August 30, 2016), (hereinafter Listing Agent), at no cost to the bankruptcy
estate, to negotiate with and persuade the first lienholder on certain real property in which the
estate has no equity to (l) allow Trustee to sell such property at the highest price that the market
will bear, (2) waive the resulting deficiency claim and (3) pay a ll U.S.C. §506 surcharge to
provide a carve out for the benefit of the estate and pay all other sale expenses, including a 6%
brokerage commission that will be shared by BKRES and Listing Agent only upon the closing of
a sale that is approved by this Court.

BKRES and its affiliates have proprietary technology and a national team of experienced

loan servicing specialists, asset managers, negotiators, trustee relation managers, real estate

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brokers and agents, closing specialist and attorneys with extensive experience in procuring the
consent of mortgage lenders and servicers to sell over-encumbered properties and provide
significant cash recoveries to selling estates with no equity, through the Consented Sale process
described herein.

The proposed agreements are attached and provide that BKRES and Listing Agent will
not be entitled to any compensation from the estate whatsoever under any circumstances They
will only receive and share a customary brokerage commission that is paid by secured creditor as
an ll U.S.C. section 506 surcharge approved by the Court.

The Trustee (l) believes that hiring BKRES and Listing Agent to pursue a Consented
Sale Will likely result in secured creditor paying a carve out for the benefit of the estate with the
proceeds from the public sale of an asset in which the estate has no equity and (2) expects to
obtain Secured Creditors’ agreement to a Consented Sale, and bring a separate motion seeking
this Court’s approval of the procedures, terms and conditions by which the over-encumbered

property will be sold , within the corning months

JURISD|CTION AND BACKGROUND

l. On October 29, 2015, Donald R. Wills filed a voluntary petition for relief under
Chapter ll of Title ll of the United States Code (the “Bankruptcy Code”), in the United States
Bankruptcy Court, Northem District of Indiana, Fort Wayne Division (this “Court”), initiating
the above-referenced case (the “Bankruptcy Case”) and converted the case to Chapter 7 on July
26, 2016,

2. The Trustee is the duly appointed, qualified and acting Chapter 7 Trustee in this

Bankruptcy Case.

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3. This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and
1334. Venue is proper in this Court pursuant to 28 U.S.C. § 1408 and 1409. This matter is a
core proceeding pursuant to 28 U.S.C. § 157(b) (2).

4. The statutory predicates for the relief requested in this Application are § 327 of
the Bankruptcy Code and Rule 2014 of the F ederal Rules of Bankruptcy Procedure.

5. On the Petition Date, the Debtor was the owner of real estate located at 1830
Forest Park Boulevard, Fort Wayne, Indiana (the “Real Estate”).

6. Although the schedules suggest there is equity in the real estate, the property has
been marketed for several months With the only offers below the value of the Secured Party’S
claim; hence, there is no equity in the property.

7. The Trustee, after reviewing certain materials, including (without limitation) the
BK ScoreTMl, sales analysis report and opinion of value for the Property provided by BKRES
and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all
creditors to negotiate to obtain Secured Creditors’ agreement and consent (“Consent”) to:

a. sell the Property to whichever third party the Trustee determines to have made
the best qualified offer approved by the Court;

b. release the Senior Mortgage and otherwise waive all of its claims against the
estate with respect to the Property (including any deficiency claims resulting
from the proposed sale); and

c. agree to a ll U.S.C. § 506 surcharge to pay all of the expenses associated with
the proposed sale, including the payment of a 6% real estate brokerage
commission to BKRES and Listing Agent and reimbursement of their out-of-
pocket expenses, and provide a carve out for the benefit of allowed unsecured
creditors of Debtor’s estate,

 

' The BK ScoreTM is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.

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8. Trustee expects BKRES and Listing Agent to obtain Secured Creditors’ Consent
and bring a separate motion seeking an order approving the sale of the Property (the “Motion to
Approve Sale”) within several months of the entry of the Order sought by this Application.

9. By this Application, the Trustee requests authority pursuant to Sections 327,
328(a) and 330 of` the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure
Secured Creditors’ Consent, and (b) approve Secured Creditors’ payment of the fees described
below directly to BKRES and Listing Agent at closing of the sale of the Property, if and when
the Consent and Motion to Approve Sale are granted

APPLICATION

10. Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor
“with the court’s approval, may employ or authorize the employment of a professional person
under section 327...on any reasonable terms and conditions of employment, including on a
retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” ll
U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee...
or a professional person employed under section 327...(A) reasonable compensation for actual,
necessary services rendered [by such party]...and (B) reimbursement for actual, necessary
expenses.” ll U.S.C. § 330(a)(l).

ll. As further described in the materials attached to their affidavits, BKRES2 and
Listing Agent have extensive experience obtaining the consent and agreement of mortgage
lenders and servicers to the sale of their collateral and resolution of any resulting unsecured
claims in order to produce a recovery for estates from over-encumbered assets in which the

estate has no or little actual equity.

 

2 BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).

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12. The Trustee believes that the highest and best value for the Property will be
generated through a sale in which the Property is widely marketed to the public and offered at
the highest price that the market will bear. The Trustee further believes that such a sale is in the
best interest of the Debtor’s estate, but can only be achieved if Secured Creditors’ Consent is
first obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to
obtain Secured Creditors’ Consent is in the best interests of the Debtor’s estate.

13. In no event will the estate have any obligation to pay BKRES or Listing Agent.
The terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing
Agent are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the
Motion to Approve Sale is granted by this Court and (c) the Property is sold, in which event
BKRES and Listing Agent will receive and share a 6% real estate brokerage commission at
closing in accordance with the order approving the sale.

14. BKRES and Listing Agent will not be entitled to any fees if Secured Creditor
does not grant its Consent or the Court does not grant the Motion to Approve Sale.

15. The Trustee submits that the terms of employment and compensation as set out in
the BKRES Agreement and Listing Agreement are reasonable in light of the extensive
experience of BKRES and Listing Agent and the nature of the services they provide.

16. BKRES attested that it is a disinterested person within the meaning of Section
101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a).
Attached hereto as Exhibit A is an Af`fidavit of Disinterestedness of BKRES. BKRES also
attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than Listing Agent.

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17. Listing Agent has previously been accepted as realtor for this transaction per the
Court’s Order dated August 30, 2016.
18. The Carve Out provided to the bankruptcy estate from the surcharge pursuant to
11 U.S.C. section 506 is not subject to any exemption claimed by the Debtors.
WHEREFORE, the Trustee moves the Court’s for authority to retain BKRES and Listing
Agent in this case, and requests that the Court approve compensation arrangements set forth in
the BKRES Agreement and Listing Agreement pursuant to Sections 327, 328(a) and 330 of the
Bankruptcy Code.
Respectfully submitted,
/s/ Dustin M. Roach
Dustin M. Roach
Chapter 7 Panel Trustee
436 E. Wayne St.

Fort Wayne, IN 46802-2815
Phone: (260) 424-8132

Email: dmrtrustee@vgtlaw.com

 

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CERTIFICATE OF SERVICE

I hereby certify that on November 2, 2016 a copy of the foregoing Application to Retain
Bk Global Real Estate Services and Real Estate Broker to Procure Consented Public Sale
Pursuant to 11 U.S.C. § §327, 328 and 330 was filed electronically. Notice of this filing will be
sent to the following parties through the Courts Electronic Case Filing System and Parties may
access this filing through the Court’s system:

U.S. Trustee
ustpregionlO.in.ecf@usdoi.gov

R. David Boyer, II
db2@boyerlegal.com

MM
Dustin M. Roach

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UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN THE MATTER OF )
WILLIS, DONALD R. ) BANKRUPTCY CASE: 15-12533
) Chapter 7
)
Debtor )
)

DECLARATION OF PATRICK BUTLER IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND COLDWELL BANKER
ROTH WEHRLY GRABER TO PROCURE CONSENTED PUBLIC SALE PURSUANT
TO 11 U.S.C. § 327, 328 AND 330

The undersigned, Pat:rick Butler (“Declarant”) hereby states:

1. l am employed by BK Global Real Estate Services (“Applicant” or “BKRES”),
which is an entity duly licensed as a real estate brokerage by the State of Florida located at 1095
Broken Sound Parkway, Suite 200, Boca Raton, FL 33487. I am Applicant’s broker-in-charge
and am authorized by Applicant to submit this Declaration on Applicant’s behalf in support of
the annexed Application to Retain BKRES and in accordance with Bankruptcy Rule 2014.

2. Based upon the information discussed below, I believe that Applicant is a
disinterested person and does not hold or represent any interest adverse to the interest of the
Debtors’ estate as that term is defined in Section 101(14) of the Bankruptcy Code.

3. To the best of my knowledge: (a) neither BKRES nor any of its employees has
any connection With the Debtors, their creditors in this case, the Chapter 7 Trustee, the Office of
the United States Trustee, or any employees thereof or any party in interest herein; (b) BKRES
and each of its employees are “disinterested persons,” as that term is defined in Section 101(14)
of the Bankruptcy Code; and (c) neither BKRES nor any of its employees hold or represent an

interest adverse to the Debtor’s estate.

Exhibit “A”

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4. A description of the qualifications of, and services provided by, BKRES is
attached as Schedule 1.

5. That 1 have read the application of the Trustee regarding the retention and
compensation of BKRES and agreed to be bound by the terms and conditions represented
therein

6. That I ftn‘ther understand that the Court, in its discretion, may alter the terms and
conditions of employment and compensation, as fully set forth in the BKRES Agreement that is

attached as Schedule 2 hereto, as it deems appropriate

Verified under penalty of perjury that the foregoing is true and correct this L*"day of
October, 2016.

  

 

Patrick Butler
Corporate Broker

The foregoing instrument was acknowledged before me this g_¢,:*day of October, 2016,
by Patrick Butler who provided identification or is personally known to me and who aid take an

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Notary Public-Staté of Florida

My commission expires

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Lyda Castro
1 My Commisslcn FF 905572
`K°mc*s Explres 08!03!2019

 

